[Cite as State v. Dubose, 2024-Ohio-3167.]




                           IN THE COURT OF APPEALS
                  FIRST APPELLATE DISTRICT OF OHIO
                             HAMILTON COUNTY, OHIO



 STATE OF OHIO,                              :      APPEAL NO. C-240038
                                                    TRIAL NO. B-1903561A
         Plaintiff-Appellee,                 :

   vs.                                       :
                                                         O P I N I O N.
 LADD DUBOSE, SR.,                           :

       Defendant-Appellant.                  :




Criminal Appeal From: Hamilton County Court of Common Pleas

Judgment Appealed From Is: Reversed and Cause Remanded

Date of Judgment Entry on Appeal: August 21, 2024



Melissa A. Powers, Hamilton County Prosecuting Attorney, and Keith Sauter,
Assistant Prosecuting Attorney, for Plaintiff-Appellee,

Ladd Dubose, Sr., pro se.
                   OHIO FIRST DISTRICT COURT OF APPEALS



KINSLEY, Judge.

         {¶1}   Defendant-appellant Ladd Dubose, Sr., appeals the judgment of the

Hamilton County Court of Common Pleas denying his motion to dismiss his

indictment. Because his motion, inaptly titled, was a petition for postconviction relief,

the common pleas court erred by failing to issue findings of fact and conclusions of law

in compliance with R.C. 2953.21(H) when denying the petition. Therefore, we remand

this cause so that the court can make the appropriate findings and conclusions.

         {¶2}   In March 2020, Dubose pled guilty to one count of trafficking in a

fentanyl-related compound and one count of having weapons while under a disability.

He was sentenced to five years’ imprisonment. In his direct appeal, we sustained

Dubose’s single assignment of error challenging his sentence and reversed the

postrelease-control portion of his sentence and remanded the cause for the trial court

to notify Dubose of his potential postrelease-control obligations. State v. Dubose,

2023 Ohio App. LEXIS 2644 (1st Dist. Aug. 2, 2023).

         {¶3}   In September 2023, Dubose filed a motion to dismiss the indictment

against him, arguing that his convictions were void because the trial court violated his

due process rights by entering judgments of conviction against him when the court

lacked subject matter jurisdiction over his case. The trial court summarily denied the

motion.

         {¶4}   Dubose now appeals, bringing forth two assignments of error.

Determining that his second assignment is dispositive of his appeal, we address that

first.

         {¶5}   In his second assignment of error, Dubose, claiming that his motion to

dismiss was a petition for postconviction relief under R.C. Ch. 2953, contends that the

court erred by failing to enter findings of fact and conclusions of law when denying his

petition.




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                  OHIO FIRST DISTRICT COURT OF APPEALS



       {¶6}    We note that in his motion Dubose did not cite any statute or criminal

rule when asking the court to declare his convictions void and dismiss his indictment.

Because of that, the common pleas court needed to establish the criteria by which the

motion should be judged. See State v. Bush, 2002-Ohio-3993. Typically, irregular

motions are recast as petitions for postconviction relief when the motion is filed after

the direct appeal, claims a denial of constitutional rights, and seeks to render the

judgment void. See State v. Schlee, 2008-Ohio-545, ¶ 12.

       {¶7}    Here, Dubose filed his motion after his direct appeal, claimed a denial

of his constitutional right to due process, and sought to void his convictions.

Therefore, the court should have considered Dubose’s motion under the

postconviction statutes in R.C. Ch. 2953. We briefly note that Crim.R. 12(C) is not

applicable to Dubose’s motion, as the state argues, because that rule specifically

requires motions to dismiss an indictment for lack of subject matter jurisdiction to be

made during the “pendency of the proceedings,” referring to the trial proceedings

leading to the conviction. Because Dubose filed his petition after his direct appeal, and

not during the pendency of the trial proceedings, and sought to void his convictions

based on a constitutional violation, Ohio’s postconviction statutes govern Dubose’s

motion.

       {¶8}    Under Ohio’s postconviction statutes, R.C. 2953.21(H) requires a court

to issue findings of fact and conclusions of law when denying a timely-filed petition

for postconviction relief. State v. Lavender, 2021-Ohio-4274, ¶ 5 (1st Dist.). A petition

for postconviction relief is considered timely if it is filed within 365 days of the filing

of the transcripts in the petitioner’s direct appeal. R.C. 2953.21(A)(2). Here, the

transcripts in Dubose’s direct appeal were filed on March 7, 2023, and his petition was

filed on September 6, 2023, making it timely. Because the common pleas court was

required to issue findings and conclusions when denying Dubose’s petition, it erred in

not doing so. Accordingly, we reverse the common pleas court’s judgment and remand


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                  OHIO FIRST DISTRICT COURT OF APPEALS



the cause for the lower court to issue findings of fact and conclusions of law in

compliance with R.C. 2953.21(H). Dubose’s second assignment of error is sustained.

       {¶9}    In light of our remand, Dubose’s first assignment of error challenging

the merits of his petition is moot.

                                             Judgment reversed and cause remanded.

ZAYAS, P.J., and CROUSE, J., concur.



Please note:

       The court has recorded its own entry on the date of the release of this opinion.




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